Case 3:24-cv-05076-BHS Document 4 Filed 02/28/24 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of Washington

Janice D. Ayler

Plaintiff(s)
Vv.
1.Q. Data International INC, Silver Ridge Village LLC

Civil Action No. 3:24-cv-5076-BHS

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Defendant(s)

SUMMONS IN A CIVIL ACTION

1.Q. Data International INC

C/O Corporation Service Company
300 Deschutes Way SW STE 208
Tumwater, WA 98501

To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The apswer or motion must be served on the plaintiff or plaintiff's attorney,

Janice D. Ayle
whose name and address are: PO BOX 99284

Lakewood, WA 98496-0284

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Date: February 28, 2024

Case 3:24-cv-05076-BHS Document 4 Filed 02/28/24 Page 2 of 2

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Western District of Washington

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Plaintiff(s)
V.
1.Q. Data International INC, Silver Ridge Village LLC

Civil Action No. 3:24-cv-5076-BHS

Defendant(s)

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SUMMONS IN A CIVIL ACTION

Silver Ridge Village LLC
C/O Yanna Zhang

2415 100th Street CT S
Tacoma, WA 98444

To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of

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Janice D. Ayler
whose name and address are: PO BOX 99284

Lakewood, WA 98496-0284

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You also must file your answer or motion with the court.

Date: _ February 28, 2024

